Case 2:OO-cV-03082-BBD-STA Document 114 Filed 05/31/05 Page 1 of 4 Page|D 155

IN THE UNITED sTATEs DISTRICT CoURT F""EU g "' ng ~- D-'F-
FOR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIvISIoN

COUNTRYWIDE HOME LOANS, INC.,

 

Plaintif`f,

No.: 00-3082 D

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)
AARON PERKINS, TIJUANA PERKINS §
DWAN BROWN, AMERICAN REALTY USA, )
INC. ,A & R INVESTMENTS, WILLIAM N. )
GRIFFIN GRlFFIN, CLIFT, EVERTON & )
THORNTON, EQUITY FIRST MORTGAGE, )
LLC LAKINA COOK SECURITY TITLE )
COMPANY, INC. ,VALERIE J. BRlGGS )
d/b/a VAL PROPERTIES, ANN BAKER cl/b/a )
ANN BAKER & ASSOCIATES, and JOHN )
DOES ]-lO, )
)

)

Defendants

 

..,, ' . ORDER OF VOLUNTARY DISMISSAL

 

PURSUANT TO Fed. R. Civ. P. 4 l (a)(2), and at the request of plaintiff Countrywide Home
Loans, lnc., the Court hereby dismisses the claims of plaintiff against all remaining defendants in this
cause without prejudice Accordingly, this cause shall be and hereby is dismissed in its entirety and

rnay be closed by the Clerk of Court,

SO ORDEREDthis§§[ day of 2 2 )£:j: ,2005.

/$i.DISTRICT JUD/GE BERNICE B. DON

This document entered on the docket sheet in compliance

with Ru'e 58 and/or 79(a )FHéP on z 'o }_/

Case 2:OO-cV-03082-BBD-STA Document 114 Filed 05/31/05 Page 2 of 4 Page|D 156

CERTIFICATE OF SERVICE

l hereby certify that l have mailed a copy of the foregoing,
day ofMay, 2005, to Dale Tuttle, Esq., Glassman, Edwards, Wade
Second Street, Memphis, TN 38103
Suite 725, Memphis, TN 38]03.

postage prepaid, this z 7 b`
& Wyatt, P.C., 26 Nol'th
, and Stewart B. Breakstone, Esq., 200 Jefferson Avenue,

Lll\~_

Douglas F. Halijan

 

srs

RNDI

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This notice confirms a copy of the document docketed as number 114 in
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Honorable Bernice Donald
US DISTRICT COURT

